                                                                             1,,1

        Case 2:15-cv-00997-JHE Document 156 Filed 11/02/18 Page 1 of 4                                FILED
                                                                                             2018 Nov-02 PM 04:18
                                                                                             U.S. DISTRICT COURT
                                                                                                 N.D. OF ALABAMA



                                       VERDICT FORM
                                                                    FILED
We, the jury, find as follows on the claims of the plaintiff, James Barber. a!lk\Vst ~ a~!lndants,
Hugh Hood and Roy Roddam:                                              UNITED STATES DISTRICT COURT
                                                                       NORTHERN DISTRICT OF ALABAMA
(*Check one on each line*)

1.     First Claim: Denial of Necessary Medical Care


For Plaintiff                                For Defendant Hood

                                                   7
For Plaintiff                                For Defenda,dl Roddam

                                                   7
2.     Second Claim: Failure to Intervene as to Necessary Medical Care


For Plaintiff                                For Defendant Hood




For Plaintiff                                For Defendant Roddam

                                                  J
        Case 2:15-cv-00997-JHE Document 156 Filed 11/02/18 Page 2 of 4




                              COMPENSATORY DAMAGES

               (to be considered only if you have found in favor of the plaintiff
              on one or more of his claims against one or more of the defendants)


We, the jury, award the plaintiff, James Barber, compensatory damages for his physical pain and
suffering in the amount of:




We, the jury, award the plaintiff, James Barber, compensatory damages for his emotional and
mental pain and suffering in the amount of:
       Case 2:15-cv-00997-JHE Document 156 Filed 11/02/18 Page 3 of 4




                                   PUNITIVE DAMAGES

       (to be considered regarding a particular defendant only if you have found in favor
         of the plaintiff against that defendant on one or more of the plaintiff's claims)

We, the jury, award the plaintiff, James Barber, punitive damages against:

Hugh Hood in the amount of



Roy Roddam in the amount of
                                                              1.,1


        Case 2:15-cv-00997-JHE Document 156 Filed 11/02/18 Page 4 of 4




Please sign and date the form below:



Pres· ding juror:




u~ .&1~~v
liikY"'*=

Date:   \}j\}\J UN\_yb1                , 2018




                                                                     '-   .
